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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

 JERYL TURCO,                            Case No. 2:15-cv-03008

                  Plaintiff,             Judge Susan D. Wigenton
                                         Magistrate Judge Leda D. Wettre
 v.

 CITY OF ENGLEWOOD,
 NEW JERSEY,

               Defendant.
 ________________________________/


                         PLAINTIFF’S TRIAL BRIEF
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                         PRELIMINARY STATEMENT

       For the second time, this Court is called upon to adjudicate the

 constitutionality of the City of Englewood’s (“Englewood” or “the City”)

 Ordinance No. 14-11 (the “Ordinance) against a First Amendment and state

 constitutional challenge brought by Jeryl Turco. In 2017, this Court held that the

 Ordinance violated Turco’s rights under the First Amendment and the New Jersey

 Constitution and granted summary judgment to Plaintiff. Turco v. City of

 Englewood, No. 2:15-cv-03008, 2017 U.S. Dist. LEXIS 189042 (D.N.J. Nov. 14,

 2017).

       On appeal by the City, the Third Circuit reversed, holding that the record

 showed genuine issues of fact precluding the entry of summary judgment on two

 issues. Turco v. City of Englewood, 935 F.3d 155 (3d Cir. 2019). Those issues

 were: (1) whether or not the buffer zones created by the Ordinance imposed “a

 significant restraint” on Turco’s ability to engage in constitutionally-protected

 speech, id. at 170; and (2) whether or not the City met its burden under the

 Supreme Court’s decision in McCullen v. Coakley, 573 U.S. 464 (2014) of

 demonstrating that it had tried or seriously considered and reasonably rejected less

 restrictive alternatives before enacting the Ordinance. Turco, 935 F.3d at 170.

       The Third Circuit also reversed this Court’s holding on overbreadth,

 suggesting that this Court conflated narrow-tailoring with overbreadth. Id. at 170–



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 71. And while the Third Circuit chided this Court for failing to apply or “even cite”

 Hill v. Colorado, 530 U.S. 703(2000) in its opinion, id. at 167, in fact, this Court

 placed as much reliance on Hill as the Supreme Court did in McCullen: none.1

       Since the remand of this matter in September of 2019, several legal and

 factual developments have taken place which bear directly upon trial of the issues

 designated by the Third Circuit:

       1.     Bruni II and Reilly. The Third Circuit has further elucidated the law

 in this area in companion decisions involving buffer zone laws in Pittsburgh and

 Harrisburg respectively. In Bruni v. City of Pittsburgh, 941 F.3d 73 (3d Cir. 2019)

 (“Bruni II”) and Reilly v. City of Harrisburg, 790 F. App’x 468 (3d Cir. 2019), the

 Third Circuit upheld abortion clinic buffer zones (15 and 20 feet respectively), but

 only after using the doctrine of constitutional avoidance to impose narrowing

 constructions on both ordinances that neither ordinance applied to sidewalk

 counseling “or any other calm and peaceful one-on-one conversations,” i.e., the

 very kind of speech engaged in by Turco. Bruni II, 941 F.3d at 87–88.2 In other


 1
   Except to note that the prior Massachusetts law in McCullen was modeled after
 the Colorado statute at issue in Hill, 573 U.S. at 471, the Supreme Court in
 McCullen likewise “did not even cite Hill.” Turco, 935 F 3d at 167.
 2
   Query: could this Court, following Bruni II and Reilly, impose a narrowing
 construction on Englewood’s Ordinance that would, in effect, resolve this case by
 leaving the Ordinance intact while excluding from its scope the kind of individual,
 one-on-one peaceful conversation and literature distribution engaged in by Turco?
 A close reading of Bruni II and Reilly suggests that it could. Arguably, the
 Ordinance is “readily susceptible” of a narrowing construction because, inter alia,

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 words, in Pittsburgh and Harrisburg the buffer zones remain in place, but the

 activities of sidewalk counselors such as Bruni, Reilly, and others who seek to

 engage in peaceful, one-on-one conversations on public sidewalks, do not fall

 within the ordinances’ prohibitions. Thus, the governmental interest asserted in

 those cases of protecting access, eliminating obstructions, harassment, etc.—the

 same asserted here by Englewood—was upheld, while at the same time fully

 recognizing and protecting the crucial First Amendment rights of sidewalk



 (1) the undisputed history of the Ordinance’s adoption shows that it was directed at
 aggressive, allegedly violent conduct of groups which the police chief and others
 specifically distinguished from individual communications by people like Turco;
 (2) on the face of the Ordinance, in Section D, the City expressly acknowledges the
 importance of the rights of persons “to express their views, assemble or pray near a
 health care facility” and suggests an awareness by Englewood of an important
 distinction between such protected activity and the conduct sought to be regulated
 by the Ordinance; (3) the terms “enter or remain”—the operative terms which both
 Plaintiff and Englewood’s Council President agree require Turco to navigate
 around the buffer zone lines—are terms of art taken from criminal trespass laws
 and, arguably, should not apply to very brief, quiet, one-on-one conversations on
 public sidewalks; (4) the Supreme Court’s recognition of sidewalk counseling
 outside of abortion clinics as enjoying “maximum” First Amendment protection in
 a unanimous decision rendered mere months after the adoption of the Ordinance
 may be seen as clarifying the limits of laws such as Englewood’s in a way that may
 have been less obvious at the time the Ordinance was under consideration.

 Although neither party in this case listed this as an issue in the Joint Pretrial Order,
 respectfully, it may be of benefit for the Court to order supplemental briefing on
 this question. “Plaintiffs avoided the buffer zone based on an assumption, shared
 by the City, about the scope of the ordinance . . . however, it does not preclude us
 under the doctrine of constitutional avoidance from adopting a narrowing
 construction of the Ordinance.” Bruni II, 941 F.3d at 84–5 n.12.


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 counselors—such as Jeryl Turco—as affirmed by the unanimous Supreme Court in

 McCullen.3

       2.     Englewood’s Changing Interpretation of the Ordinance’s Scope. For

 the better part of a decade now, the parties have litigated this case under the

 assumption that the Ordinance means that Turco (and other non-exempt persons)

 may not “enter or remain” within the painted lines of the buffer zones, at least the

 buffer zones in front of the entrance to 40 Engle Street.4 But in the issues the City

 lists as part of “Defendant’s Legal Issues” in the Joint Pretrial Order, the City

 includes:

       (4) Whether the Buffer Zone Ordinance, by its express terms, permits
       persons, including plaintiff, to walk through the Buffer Zone on the public
       sidewalk or street right of way adjacent to the MMA facility “solely for the
       purpose of reaching a destination other than such a facility.”

 3
   Of course, the analysis in Bruni II and Reilly of what does or does not constitute a
 constitutionally significant or serious burden on speech can only be understood in
 light of those courts’ exclusion of sidewalk counseling from the scope of the
 ordinances under review in those cases. See infra.
 4
   It is true that in a letter submitted to this Court at the Preliminary Injunction stage
 of the case, counsel for Englewood proffered a “stipulation” that Turco could walk
 through the driveway buffer zones, i.e., the zones at the far end of the building
 from the entrance door buffer zones. [Doc. 18.] Yet, despite Plaintiff’s consistently
 arguing that the Ordinance excludes her from both zones, that stipulation was
 never mentioned again by the City in summary judgment briefing at the District
 Court or the City’s principal brief at the Court of Appeals (although it appeared in
 the City’s Circuit reply brief). Nor was it proposed by Englewood as a Stipulated
 Fact for inclusion in Exhibit A of the Joint Pretrial Order. [Doc. 81.] At her
 30(b)(6) deposition, the City’s designated representative testified that Turco was
 not permitted within either set of buffer zones and, further, the 30(b)(6)
 representative was not aware of any contrary official interpretations.


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  [Doc. 81] (quoting one of the four exemptions set forth in the Section B of the

  Ordinance.) The potential significance of this apparent modification of

  Englewood’s position for the analysis and outcome of this case cannot be

  overstressed. If the City now takes the position that while Turco is on the sidewalk

  in front of the MMA clinic her destination is “other than such facility,” then she

  comes within exemption (4) of the Ordinance, and, thus, the Ordinance does not

  apply to Turco at all.

        3.     Changes to the Layout of the Sidewalk at 40 Engle Street. Since the

  last time this case was before the Court, several changes have occurred which have

  altered the landscape, both literally and, to some degree, legally. As compared with

  the clear, uncluttered sidewalk shown in the photograph in the Third Circuit’s

  opinion, 935 F.3d at 160, the ensuing years have seen a proliferation of fixed

  planters, some containing small trees, and restaurant tables and chairs in front of 40

  Engle Street, in both the buffer zone and non-buffer zone areas. These objects

  seem to be the property of the restaurant next door and have been placed—some

  permanently, others temporarily—in response to such things as expanded outdoor

  dining due to Covid, and a presumed desire to enhance the ambience of the

  restaurant’s operations. While Plaintiff has eschewed the idea that these additions

  give rise to any distinct legal claims, the increased flotsam and jetsam in the non-

  buffer zone areas has certainly decreased the square footage of the traditional

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  public forum available to non-exempt people like Turco and, if anything, increased

  the burden on her ability to communicate with her intended audience.

         4.     The Parties’ Expanded Stipulated Facts. Along with the Joint Final

  Pretrial Order, the parties have submitted an Exhibit containing some 78 stipulated

  undisputed facts. [Doc. 81, Ex. A.] These include 19 facts taken from the Third

  Circuit’s opinion and an additional 59 facts subsequently agreed to by the parties.

  Of course, by stipulating to certain facts, neither party necessarily accepts the other

  side’s inferences or legal conclusions to be drawn therefrom.

         5.     Post-remand Depositions. Since the remand, the parties have taken

  four additional depositions so that the record might better reflect the current state

  of affairs regarding Turco’s activities vis-à-vis the buffer zones at 40 Engle Street.

  The following depositions took place in April of 2021: Plaintiff, Jeryl Turco

  (supplemental); Christine Taylor (MMA volunteer escort); Andrea Long (MMA

  volunteer escort); and James Roman (architectural designer). Mr. Roman, at

  Plaintiff’s counsel’s request, prepared a diagram of the layout of the sidewalk at 40

  Engle Street which shows the location, boundaries, dimensions, etc. of the buffer

  zones, adjacent buildings, and street. (See attached diagram). The parties have

  agreed that the diagram is an accurate representation of the sidewalk in front of 40

  Engle Street and that the dimensions are correct as shown. (Mr. Roman will not be

  called as a witness at trial.)



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         STATEMENT OF FACTS PLAINTIFF INTENDS TO PROVE

        As noted, supra, the Third Circuit identified two issues requiring resolution

  on remand: (1) whether or not the buffer zones created by the Ordinance imposed

  “a significant restraint” on Turco’s ability to engage in constitutionally-protected

  speech, Id. and 170; and (2) whether or not the City met its burden under the

  Supreme Court’s decision in McCullen v. Coakley, 573 U.S. 464 (2014) of

  demonstrating that it had tried or seriously considered and reasonably rejected less

  restrictive alternatives before enacting the Ordinance. Turco, 935 F.3d at 170.

  A.    The Burden Imposed on Turco’s Speech

        The facts regarding what the Ordinance says and means, what Turco does,

  and how the Ordinance’s restrictions place limits on her ability to use the public

  sidewalk in front 40 Engle Street have never been in serious dispute.5 Plaintiff,

  through her own testimony, along with the parties’ stipulated undisputed facts, and

  documents supplied by the Defendant in discovery, intends to prove:

        1.     that the Ordinance creates a series of what the Third Circuit described

  as “three overlapping buffer zones,” id. at 159, at either end of the sidewalk

  adjacent to 40 Engle Street;

  5
    Except, perhaps, insofar as the City’s quite recent suggestion that, while Turco is
  walking on the sidewalk in front of 40 Engle Street, she is permitted to walk
  through the buffer zones as a “person[s] using the public sidewalk or street right-
  of-way adjacent to such facility solely for the purpose of reaching a destination
  other than such facility.” Ordinance, Section B(4). As noted above, if Section B(4)
  applies to Turco, she is exempt from the Ordinance.

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        2.     that, as this Court found, the buffer zones extend eight feet to the left

  and eight feet to the right of the clinic’s (8 foot) door and driveway, and, as a

  result, “Plaintiff and others similarly situated are excluded from approximately

  twenty-four feet on either end of the Clinic, or forty-eight feet in total of the public

  sidewalk outside the Clinic.”6 Turco, 2017 U.S. Dist. LEXIS 189042, at *3–4;

        3.     that Turco’s objective is not to protest, demonstrate, or picket, but,

  rather, to try to engage the clinic’s clients in sidewalk counseling, i.e., quiet,

  friendly, non-confrontational, one-on-one conversation, and leafletting, with a

  view toward offering them alternatives to abortion;

        4.      that the presence of the overlapping zones from which she is

  excluded by the Ordinance significantly restricts and seriously diminishes Turco’s

  ability to reach her intended audience because she is required to navigate a virtual

  obstacle course of lines and arcs delineating the “no-speech zones,” must enter

  Engle Street itself to avoid the buffer zones and must occasionally maneuver

  around parked cars and piles of snow to get from one side of the zones to the other

  in order to attempt to communicate with prospective clients of the clinic;

        5.     that as difficult as the Ordinance’s buffer zones make Turco’s

  attempts at verbal communication, if anything, they make her attempts at



  6
    This description perfectly illustrates why it is highly misleading to refer to this as
  a mere “8-foot buffer zone.”

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  pamphleteering even more difficult, since handing a pamphlet to a client who is

  eight, sixteen, twenty-four or more feet away is a physical impossibility.

        5.     that, in more recent years, the proliferation of planters, trees, tables

  and chairs which the City has permitted to be placed on and remain on the public

  sidewalk has only exacerbated the difficulty Turco has in trying to communicate

  by further complicating the obstacle course, reducing the amount of public

  sidewalk open to her, and, thus, has increased the burden on her ability to engage

  in one-on-one communication.

        In addition to the foregoing, it is perhaps important to set forth some things

  Turco does not contend. Turco does not contend that the Ordinance has entirely

  prevented her from communicating with any prospective clients. (She need not so

  prove.) Nor does she contend that she is unable to communicate with clients on

  either end of the buffer zones, at least not until they arrive at the buffer zone lines

  where Turco—but not the client—must stop. Nor does Turco contend that she

  can’t communicate with clients who may be across the street, or any other place

  where the buffer zone lines are not nearby. Turco’s proofs will show, however, that

  despite retaining some ability to communicate some of the time, the restrictions of

  the Ordinance have imposed and continue to impose, a substantial, serious, and

  significant burden on her ability to engage in sidewalk counseling at 40 Engle

  Street. This is all she need show to shift the burden to Defendants under McCullen.



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  B.    The City’s Burden of Proof

        Regarding the second question—whether or not Englewood can show that it

  tried or seriously considered and reasonably rejected less restrictive alternatives to

  the Ordinance—this is the Defendant’s burden once Plaintiff demonstrates that the

  Ordinance imposes a significant restriction on her freedom of speech. Of course,

  based on the prior history of the case and the undisputed stipulated facts, Plaintiff

  understands that the City will attempt to answer that question in the affirmative.

        In response to Defendant’s expected proofs, however, Plaintiff anticipates

  demonstrating at least the following:

        1.     that the City first became aware of an increase in hostile, aggressive,

  and allegedly lawbreaking anti-abortion actors (the Bread of Life group) at MMA

  in October of 2013, a group that did not exclude Turco and whose tactics Turco

  vehemently rejects;

        2.     that from the outset of the issue being raised before the City Council,

  the police chief recommended the enactment of a buffer zone ordinance, in large

  part, because such an ordinance would be easier to enforce than existing laws;

        3.     that the City failed to attempt to address the situation by prosecutions

  and arrests under existing laws or targeted injunctive relief, or adoption of new

  laws that did not exclude peaceful sidewalk counselors;




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        4.     that the filing of complaints by clinic counselors using their home

  addresses was never necessary for the City to enforce existing laws or obtain

  targeted injunctive relief;

        5.     that the City, in December of 2013, was made aware of a

  Massachusetts buffer zone statute addressing a similar situation, and that the

  constitutionality of that statute had been upheld by the First Circuit Court of

  Appeals (the statute was later struck down by the Supreme Court in McCullen);

        6.     that, shortly after becoming aware of the Massachusetts statute, the

  City decided to adopt a practically verbatim version of it for Englewood;

        7.     that the City at no time conducted a study of any kind of what it

  would have cost to provide police presence at MMA during the few hours every

  other week that the Bread of Life group typically was present;

        8.     that the City Council president (and the City’s 30(b)(6) designee)

  interpreted the Ordinance as prohibiting Turco and other non-exempt persons from

  entering the buffer zones and requiring them to navigate around them including

  walking into the street, at least along the curb line;

        9.     that, despite the complete absence of evidence of problems similar to

  those at MMA occurring at any other Englewood health care or transitional

  facility, the Ordinance creates speech-excluding buffer zones at all such facilities




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  in Englewood, and that the City actually undertook to paint buffer zones at some

  half dozen or more facilities in 2014.

        In sum, Plaintiff anticipates that the proofs offered by the City will be

  insufficient to sustain its burden of proof, under McCullen, that the Ordinance is

  sufficiently narrowly tailored to withstand intermediate scrutiny.

                                LEGAL ARGUMENT

  I.    The Ordinance, on its face and as-applied, violates the free speech and
        assembly rights of Plaintiff, Jeryl Turco, as protected by the Free
        Speech Clause of the First Amendment to the U.S. Constitution and Art.
        I, ¶ 6 of the New Jersey State Constitution.

        A.     The Ordinance, on its face and as-applied, impermissibly burdens
               Plaintiff’s ability to communicate to patients of the abortion clinic
               located at 40 Engle Street (“Metropolitan Medical Associates”)
               through her chosen means of sharing her constitutionally
               protected message.

        The Third Circuit held that “the extent to which the buffer zone prevented

  Turco from communicating her message as she wanted” was a genuine issue of

  material fact that precluded entry of summary judgment. Turco v. City of

  Englewood, 935 F.3d 155, 165 (3d Cir. 2019). The court noted that “[s]ome facts

  suggest that the buffer zones imposed a significant restraint on the plaintiff’s

  ability to engage in constitutionally-protected communication. Others support

  Englewood’s position that the buffer zones hardly affected plaintiff’s ability to

  reach her intended audience.” Id. at 170.




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        At trial, Plaintiff will demonstrate that the buffer zones created by the

  Ordinance on the public sidewalk at 40 Engle Street do indeed significantly burden

  her constitutionally protected speech activities as exercised in a traditional public

  forum.

        As an initial matter, and as the Third Circuit correctly noted, two legal

  propositions are not in dispute: (1) Plaintiff’s speech activities outside MMA, i.e.,

  engaging in one-on-one communication with patients and distributing pamphlets to

  the same, are constitutionally protected activities, and (2) the public sidewalk

  outside MMA is a traditional public forum. Turco, 935 F.3d at 162 (“The City

  concedes that the First Amendment fully protects the speech at issue here and that

  the Ordinance clearly regulates speech in a traditional public forum (i.e., the

  sidewalk)”).

        The Supreme Court in McCullen spoke clearly as to what constitutes a

  burden in the free speech context: “while the First Amendment does not guarantee

  a speaker the right to any particular form of expression, some forms—such as

  normal conversation and leafletting on a public sidewalk—have historically

  been more closely associated with the transmission of ideas than others.” Bruni v.

  City of Pittsburgh, 824 F.3d 353, 366-67 (3d Cir. 2016) (Bruni I) (quoting

  McCullen v. Coakley, 134 S. Ct. 2518, 2536 (2014)) (emphasis added). McCullen

  continues: “[w]hen the government makes it more difficult to engage in these



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  modes of communication, it imposes an especially significant First Amendment

  burden.” Bruni I, 824 F.3d at 367 (quoting McCullen, 134 S. Ct. at 2536)

  (emphasis added). See also Turco, 935 F.3d at 172 (same).

        According to the Third Circuit, measuring a burden on speech requires a

  consideration of the scope and size of the speech restriction. Bruni v. City of

  Pittsburgh, 941 F.3d 73, 95 (3d Cir. 2019) (Bruni II). As to scope, i.e., “the type of

  speech” the Ordinance prohibits, id., the Ordinance does not just ban conduct such

  as patrolling, demonstrating, and picketing within the zones it creates, as it did in

  Bruni II. The Ordinance also bans the two speech activities involved with

  “sidewalk counseling,” i.e., “one-on-one normal conversation and leafletting,”

  which McCullen and the Third Circuit have observed are “entitled to the maximum

  protection afforded by the First Amendment.” Id. at 85 (cleaned up).

        Indeed, unlike the Bread of Life group, whose activities gave rise to the

  Ordinance, sidewalk counselors, such as Turco, “are not protestors.” McCullen v.

  Coakley, 573 U.S. 464, 489 (2014). As described by the Court in McCullen,

  sidewalk counselors


        seek not merely to express their opposition to abortion, but to inform
        women of various alternatives and to provide help in pursuing them.
        [They] believe that they can accomplish this objective only through
        personal, caring, consensual conversations. And for good reason: It is
        easier to ignore a strained voice or a waving hand than a direct
        greeting or an outstretched arm.



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  Id.
        For well over a decade, Turco has been counseling on the public sidewalk

  outside of 40 Engle Street on Saturday mornings. When counseling women, she

  does so in a friendly, peaceful, conversational, and non-confrontational manner.

        Like the sidewalk counselors in McCullen, Turco believes that the most

  effective way to interact with women approaching an abortion clinic is “to

  maintain a caring demeanor, a calm tone of voice, and direct eye contact.” Id. at

  473. Sidewalk counselors, like Turco, believe that “confrontational methods such

  as shouting or brandishing signs . . . tend only serve to antagonize their intended

  audience.” Id.

        The Bruni II court held that Pittsburgh’s buffer zone ordinance was narrower

  in scope than the Massachusetts law unanimously struck down in McCullen

  because “it limits only congregating, patrolling, picketing, and demonstrating

  within a fifteen-foot buffer zone”— activities the court construed as not including

  sidewalk counseling. Bruni II, 941 F.3d at 90. In other words, the Pittsburgh

  ordinance,   unlike   Englewood’s,     did    not   “sweep   in   the   ‘one-on-one

  communication,’ including ‘normal conversation and leafletting,’ that McCullen

  emphasized ‘have historically been more closely associated with the transmission

  of ideas.’” Id. (quoting McCullen, 573 U.S. at 488). In fact, the Bruni II Court

  specifically noted that if Pittsburgh wanted to amend its ordinance to restrict “one-

  on-one conversations,” it would have to satisfy the narrow tailoring demands as

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  articulated in “McCullen and Bruni I.” Bruni II, 941 F.3d at 95 n.22. (Those

  demands are discussed infra at Sec. I.B.)

        With respect to the size of the zones, the Ordinance creates “three

  overlapping buffer zones at any qualifying facility.” Turco, 935 F.3d at 159. In the

  case of 40 Engle Street, where Turco engages in sidewalk counseling, there are six

  overlapping zones because of MMA’s entrance and driveway. As this Court has

  described the lay of the land, a factual finding not disturbed on appeal:

        The buffer zone extends eight feet to the left and eight feet to the right
        of the Clinic’s doorway or driveway down to the street. As a result,
        Plaintiff and others similarly situated are excluded from
        approximately twenty-four feet on either end of the Clinic, or forty-
        eight feet in total of the public sidewalk outside the Clinic.

  Turco v. City of Englewood, No. 2:15-cv-03008, 2017 U.S. Dist. LEXIS 189042, at

  *3–4 (D.N.J. Nov. 14, 2017).

        These permanent, overlapping zones that divvy up the sidewalk at 40 Engle

  Street create a veritable “obstacle course” Turco is forced to navigate when

  sidewalk counseling. Instead of being able to walk in a normal fashion alongside

  women she tries to speak with, from the beginning of that conversation to the

  entrance of the clinic (as she was able to do before adoption of Ordinance, and

  while it was invalidated by this Court), the zones require that Turco—who usually

  only has seconds to reach her intended audience—repeatedly interrupt her close




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  conversations to navigate the multitudinous do-not-cross lines painted on the

  public sidewalk.

        Moreover, when Turco walks out into the street, in order to attempt to keep

  conversing with a woman walking towards the clinic entrance, she does so at her

  physical and legal peril. The one-way street in front of the clinic is often a busy

  road and according to New Jersey law, “[w]here sidewalks are provided,” as is the

  case at 40 Engle Street, “it shall be unlawful for any pedestrian to walk along and

  upon an adjacent roadway.” N.J.S.A. § 39:4-34.

        In addition, cars are often parked along the street outside the clinic, and

  during the winter months, piles of snow alongside the street make it burdensome, if

  not impossible, for her to walk around the zones. Turco must navigate all these

  barriers, and more, simply to engage in peaceful and otherwise fully-protected

  constitutional speech in a traditional public forum during the very brief window of

  time that she has to communicate with her intended audience.

        The net impact of the Ordinance on Turco’s speech at 40 Engle Street is that

  her counseling efforts have been considerably hampered, and her ability to engage

  in peaceful conversations, and to offer literature and/or a rosary to interested

  individuals passing by on the public sidewalk, has been severely restricted. The

  Ordinance, and the zones created under it, hinder her ability to initiate the close,

  personal conversations that she views as essential to sidewalk counseling and also



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  significantly hampers her ability to offer literature and rosaries to individuals on

  the public sidewalk.

        While Plaintiff is able to still communicate with some patients with the

  buffer zones in place, as the Third Circuit noted, so too were the successful

  plaintiffs in McCullen:

        Although they have managed to conduct some counseling and to
        distribute some literature outside the buffer zones—particularly at the
        Boston clinic—they say they have had many fewer conversations and
        distributed many fewer leaflets since the zones went into effect.

  McCullen, 573 U.S. at 474.

        The same holds true with respect to Turco. The issue is not whether the

  Ordinance prohibits Turco from speaking with, and handing literature to, all

  patients entering MMA, but whether the buffer zones created by the Ordinance

  makes it “more difficult” for her to engage in these core protected speech

  activities. McCullen, 573 U.S. at 489; Bruni I, 824 F.3d at 367.

        Finally, the Third Circuit’s discussion of Hill v. Colorado vis-à-vis the

  burden on Plaintiff’s speech does not support the City’s position that its Ordinance

  does not burden Turco’s speech. If Hill, standing alone, dictates that the Ordinance

  does not burden Plaintiff’s speech as a matter of law, the Third Circuit would have

  held that and conclusively resolved this issue for future proceedings. It did not do

  so.




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        The fundamental reason Hill does not address the burden the Ordinance

  imposes on Turco is because the fixed buffer zone created by the Ordinance, which

  imposes a flat ban on speech for all non-exempt speakers, is different in kind than

  the floating bubble zone in Hill, which allowed speakers to approach listeners who

  consented. Indeed, Hill did not involve an eight-foot buffer zone at all. Hill, rather,

  involved an eight-foot bubble zone—within a 100-foot buffer zone—that

  prohibited individuals from knowingly approaching another person within eight

  feet of that person to pass a leaflet, counsel, or hold a sign unless that person

  consents. 530 U.S. at 707–8. The Colorado law created an 8-foot restriction on an

  unwanted physical approach to a person accessing a health clinic. Id. at 707. The

  Ordinance, however, creates an absolute ban on non-exempt speech within the

  boundaries of buffer zones. In other words, and unlike the buffer zones created by

  the Ordinance, Colorado’s bubble zone could be “pierced,” as it were, when the

  listener consented, or the speaker stood in one place and was approached by the

  listener. Id. at 708 (noting that the Colorado bubble zone did “not require a

  standing speaker to move away from anyone passing by.”). Hill repeatedly

  emphasizes that the Colorado statute only prohibited approaches to unwilling

  listeners, allowing communications with willing listeners to proceed. See, e.g., id.

  at 715–16, 718.




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        In contrast to the operation of the law in Hill, Turco cannot cross into a

  buffer zone imposed by the Ordinance to continue speaking one-on-one with a

  patient, even if the patient wishes to hear what Turco has to say. Moreover,

  though the Hill Court suggested that sidewalk counselors “might easily stand on

  the sidewalk at entrances” to hand out literature, 530 U.S. at 730, Turco is not

  permitted to do that under the Ordinance, as entrances, including the one at MMA,

  are at the core of the no-speech zones.

        In sum, the distance in Hill is always—and never more than—8 feet, and, if

  consent given, no feet at all. Here, the distance is always at least 8 feet, and more

  often than not, 16 feet, or 24 feet, depending on where on the sidewalk Turco and

  the client happen to be standing in relation to the building.7

        In light of the scope and size of the buffer zones created on the public

  sidewalk at and around 40 Engle Street, the Ordinance has placed, and continues to

  place, a significant burden on Turco’s core free speech activities. It has made it

  7
    The Third Circuit remarked that this Court “did not even cite Hill,” in its opinion
  granting Plaintiff summary judgment. Turco, 935 F.3d at 167. But this Court was
  simply (and correctly) following the Supreme Court’s analysis in McCullen, which
  nowhere cites or relies upon Hill. Given the fact, as the Third Circuit observed,
  “[i]n nearly all material respects, the amended Act was identical to the Ordinance
  before us, except the Massachusetts law established a thirty-five foot buffer zone
  and the Ordinance establishes an eight-foot buffer zone,” the Third Circuit’s
  remark is curious. Id. at 163. To the extent the Third Circuit has mandated that this
  Court take into consideration the Supreme Court’s decision in Hill, it should do so
  and readily conclude, in light of McCullen, that Hill is ultimately irrelevant as to
  whether the Ordinance imposes a significant burden on Turco’s core protected
  speech.

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  “more difficult” for her to engage in two activities that that are afforded maximum

  constitutional protection: one-on-one communication and distributing literature.

  McCullen, 573 U.S. at 489; Bruni I, 824 F.3d at 367.

        B.     The City cannot meet its burden of proving the constitutionality
               of the Ordinance by showing that it is narrowly tailored to serve a
               significant government interest.

        The City bears the burden of proving that the Ordinance passes

  constitutional muster. “When the Government restricts speech, the Government

  bears the burden of proving the constitutionality of its actions.” United States v.

  Playboy Entm’t Grp., Inc., 529 U.S. 803, 816 (2000) (citations omitted). See also

  N.J. Citizen Action v. Edison Twp., 797 F.2d 1250, 1255 (3d Cir. 1986) (“[W]hen a

  statute or other government action is alleged to infringe on the exercise of First

  Amendment rights, the state or municipality bears the burden of demonstrating the

  constitutionality of the action.”).

        The standard the City must satisfy is intermediate scrutiny. Turco, 935 F.3d

  at 162. The decisive question under that standard is whether the City can prove that

  the Ordinance is “narrowly tailored to serve a significant governmental interest.”

  Bruni I, 824 F.3d at 365 (quoting McCullen, 134 S. Ct. at 2534). Such narrow

  tailoring requires that the government not “burden substantially more speech than

  necessary to achieve the [government’s] asserted interests.” McCullen, 573 U.S. at

  486 (quoting Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989)).



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        Where the speech restriction impacts core protected speech, as here, the

  narrow tailoring requirement is “rigorous and fact-intensive.” Bruni I, 824 F.3d at

  372. To meet that requirement, “the government must demonstrate that alternative

  measures that burden substantially less speech would fail to achieve the

  government’s interests, not simply that the chosen route is easier.” McCullen, 573

  U.S. at 495. “[T]he City cannot burden [speech] without first trying, or at least

  demonstrating that it has seriously considered, substantially less restrictive

  alternatives that would achieve the City’s legitimate, substantial, and content-

  neutral interests.” Bruni I, 824 F.3d at 357.

        As the Third Circuit in Turco summarized the standard:

        This “tailoring requirement does not simply guard against an
        impermissible desire to censor.” Rather, “by demanding a close fit
        between ends and means,” the narrow tailoring requirement prevents
        the suppression of speech “for mere convenience.” . . . . Unlike a
        content-based speech restriction, the Ordinance “need not be the least
        restrictive or least intrusive means of serving the government’s
        interests.” Rather, the First Amendment prohibits the government
        from regulating speech in a way that would allow a substantial burden
        on speech to fall in an area that “does not serve to advance its goals.”

  Turco, 935 F.3d at 162 (citations omitted).

        McCullen, as the Third Circuit correctly (and obviously) pointed out, is “a

  useful starting point.”8 Id. at 163. The law challenged in that case, adopted to serve



  8
   Indeed, one would think that a unanimous Supreme Court decision construing
  what is effectively the exact same statute as the one at issue in this case would be,

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  similar governmental interests asserted in this case, failed the Supreme Court’s

  narrow tailoring analysis. The Court held that Massachusetts could have pursued

  multiple alternatives that would amply serve the government’s interests without

  suppressing leafletting and one-on-one communication, including: (1) using an

  unchallenged subsection of that act which prohibited blocking doors and

  driveways, without banning speech; (2) enacting a local version of the federal

  Freedom of Access to Clinic Entrances Act (FACE Act); (3) enacting an ordinance

  specifically prohibiting harassment, if drafted within First Amendment parameters;

  (4) using existing ordinances against obstruction of doors and driveways; (5) using

  “generic criminal statutes”; and (6) seeking injunctive relief as necessary against

  specific persons with a history of obstructing access. McCullen, 573 U.S. at 490–

  93.

        Englewood’s Ordinance fails for similar reasons. First, this Court “was

  clearly correct when it found that the City had not ‘prosecute[d] any protestors for

  activities taking place on the sidewalk’ and ‘did not seek injunctive relief against

  individuals whose conduct was the impetus for the Ordinance.’” Turco, 935 F.3d at

  167 (quoting Turco, 2017 U.S. Dist. LEXIS 189042, at *5). Second, there is no

  evidence that the City “considered different methods that other jurisdictions . . .



  perhaps, something more than “useful.” “Controlling” might be a more apt
  description.

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  found effective”—other than the very law the Supreme Court struck down as

  unconstitutional. Bruni II, 941 F.3d at 81 (quoting McCullen, 573 U.S. at 494).

        Third, even though the issues giving rise to the Ordinance were at one

  location, on one day of the week, the City used a cudgel, instead of a scalpel, in

  addressing that problem. See Frisby v. Schultz, 487 U.S. 474, 485 (1988) (“A

  statute is narrowly tailored if it targets and eliminates no more than the exact

  source of the ‘evil’ it seeks to remedy”). The Ordinance applies to all health care

  and transitional facilities in the City. And shortly after the Ordinance was adopted,

  city officials began marking out buffer zones at such facilities in the City,

  including on the public sidewalk at 40 Engle Street.

        The City’s sweeping, far-ranging, legislative approach flies in the face of

  McCullen, which held that the Massachusetts law failed narrow tailoring precisely

  on these very grounds. “For a problem shown to arise only once a week in one city

  at one clinic, creating 35-foot buffer zones at every clinic across the

  Commonwealth is hardly a narrowly tailored solution.” 573 U.S. at 493

  (emphasis added). See also Reynolds v. Middleton, 779 F.3d 222, 231 (4th Cir.

  2015) (“Given the absence of evidence of a county-wide problem, the county-wide

  sweep of the Amended Ordinance [banning solicitation within all county

  roadways] burdens more speech than necessary, just as the statute in McCullen—a

  statewide statute aimed at a problem in one location—burdened more speech than



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  necessary.”); Cutting v. City of Portland, 802 F.3d 79, 89 (1st Cir. 2015) (citing

  McCullen, 573 U.S. at 493) (holding that a city-wide ban on lingering on median

  strips was “geographically over-inclusive” because of a lack of evidence of a city-

  wide problem); Comite de Jornaleros de Redondo Beach v. City of Redondo

  Beach, 657 F.3d 936, 949 (9th Cir. 2011) (“The Ordinance is also geographically

  overinclusive. The Ordinance applies citywide to all streets and sidewalks in the

  City, yet the City has introduced evidence of traffic problems only with respect to a

  small number of major streets and medians.”).9

        As in Bruni I, Englewood had “the same obligation to use less restrictive

  alternatives to its buffer zone as the Commonwealth of Massachusetts had with

  respect to the buffer zone at issue in McCullen.” 824 F.3d at 369. It did not do so.10

        With respect to the two issues identified by the Third Circuit as creating a

  genuine issue of material fact with respect to narrow tailoring (“financial


  9
    The Third Circuit in Turco says nothing about the Ordinance’s overinclusiveness,
  or McCullen’s discussion of the challenged law failing narrow tailoring on these
  grounds.
  10
     Bruni II clarifies this statement from Bruni I, holding that, “where the burden
  imposed by a restriction on speech is not significant, the government need
  demonstrate neither that ‘it has tried or considered every less burdensome
  alternative,’ nor that it tried or considered every less burdensome alternative
  discussed in McCullen.” Bruni II, 941 F.3d at 91 (quoting Bruni I, 824 F.3d at
  370). In this case, however, as discussed supra, and to be proven at trial, the
  burden the Ordinances imposes on Turco’s speech is significant. The burden
  analysis in Bruni II must be understood against the background of the Court’s
  narrowing construction that exempted sidewalk counselors from the ordinance’s
  reach.

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  restraints” on the City and victims’ “fear of reprisal” for filing complaints, Turco,

  935 F.3d at 169), neither of these issues will ultimately weigh in favor of the City.

        As an initial matter, the governmental interests in adopting the Ordinance

  was to deal with allegations of blockading, violence, and assaults outside the

  entrance of MMA, not to preserve financial resources and protect the privacy of

  victims. Moreover, if financial restraints did not allow for Englewood police to

  patrol 40 Engle Street one day of the week at one location, that does not explain

  how the buffer zones, which are in place every moment a facility is open for

  business, are themselves supposed to be enforced. Just as laws against harassment,

  blocking, and assault, do not enforce themselves, neither do buffer zones painted

  on a sidewalk. If the City’s excuse is that buffer zones are easier to enforce, the

  Supreme Court shut that very argument down in McCullen: “A painted line on the

  sidewalk is easy to enforce, but the prime objective of the First Amendment is not

  efficiency.” 573 U.S. at 495. See also Free Speech Coal., Inc. v. AG United States,

  787 F.3d 142, 156 (3d Cir. 2015) (“ease of enforcement is not the touchstone for

  narrow tailoring”) (citing McCullen); Petrello v. City of Manchester, No. 16-cv-

  008-LM, 2017 U.S. Dist. LEXIS 144793, at *34 (D.N.H. Sep. 7, 2017) (“the City

  may not use convenience or efficiency as a proxy for the narrow tailoring test”)

  (citing McCullen).




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        The fact of the matter is, the City not only failed to undertake a cost-analysis

  of what it would have cost to provide police presence at MMA during the few

  hours every other week that the Bread of Life group typically was present, the city

  manager went so far as to say he wouldn’t even consider providing individual

  police coverage to a business. If a lack of finances were an excuse to create

  prophylactic bans on leafletting and one-on-one communications, a municipality’s

  inability to deal with litter involving pamphlets and newspapers would give it the

  excuse to ban carrying literature in public. But see Schneider v. State, 308 U.S.

  147, 162 (1939) (“There are obvious methods of preventing littering. Amongst

  these is the punishment of those who actually throw papers on the streets.”); Riley

  v. Nat’l Fed’n of Blind, 487 U.S. 781, 795 (1988) (“North Carolina has an

  antifraud law, and we presume that law enforcement officers are ready and able to

  enforce it.”). Moreover, if the City could not afford to patrol 40 Engle Street for

  violent and other crimes, how can it afford to patrol that very same location for

  violations of its buffer zone ordinance?

        Regarding victims, the Third Circuit opinion does not mention that City

  Council President Algrant assured the clinic volunteer escorts that they need not

  use their home addresses when filing a complaint but could, instead, simply use the

  clinic’s address. In fact, two of the police investigation reports, both dated prior to




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  the passage of the Ordinance, identify the “Victim’s Home Address” as “40 Engle

  St.”

         In addition, if existing ordinances could not be enforced for lack of

  complaints, how then could an additional ordinance (creating buffer zones) be

  enforced? Why would an individual (patient, escort, doctor, etc.) be more willing

  to file a complaint with the police about someone crossing a painted line on a

  sidewalk than about being assaulted? The enforcement mechanism of the

  Ordinance is exactly the same: a complaint brought by a victim or witness to its

  violation.

         Finally, Bruni II’s application of intermediate scrutiny in that case, holding

  that Pittsburgh’s buffer zone ordinance “easily” survived that standard, even

  though the record did “not reflect that the City tried or seriously considered arrests,

  prosecutions, or targeted injunctions,” was undertaken in light of the Court’s

  holding that the ordinance did not apply to the activities of sidewalk counselors.

  941 F.3d at 88, 91. As mentioned supra, the Bruni II Court specifically noted that

  if Pittsburgh amended its ordinance to restrict “one-on-one conversations,” it

  would have to satisfy the narrow tailoring demands as articulated in “McCullen

  and Bruni I.” Bruni II, 941 F.3d at 95 n.22.

         In sum, the City had ample alternatives to deal with the protests and

  demonstrations outside MMA without suppressing the sidewalk counseling



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  activities of Jeryl Turco. Restricting one-on-one communications and leafletting

  throughout the City, in an effort to address the bad conduct of protestors at one

  location, impermissibly creates a substantial burden on speech that “does not serve

  to advance [the City’s] goals.” Turco, 935 F.3d at 162 (quoting McCullen, 573

  U.S. at 486.)

  II.   The Ordinance is Overbroad

        As with the issues of burden and narrow tailoring, the Third Circuit in Turco

  did not hold, as a matter of law, that the Ordinance failed on overbreadth grounds.

  Like the other issues, it held that that the record precluded summary judgment as to

  either party. Turco, 935 F.3d at 172.

        At the outset it must be noted that there is a difference between a law that

  fails narrow tailoring because it is overinclusive, and one that fails to satisfy

  constitutional scrutiny under the overbreadth doctrine. In McCullen, as discussed,

  the law’s scope—applying to all reproductive facilities in the state even though

  problems were to be had at only one location—was overinclusive and therefore

  “hardly a narrowly tailored solution.” 573 U.S. at 493. Because the McCullen

  Court found that the law was not narrowly tailored on these grounds, it did not

  need to consider the petitioners’ overbreadth challenge. See Turco, 935 F.3d at 170

  (citing McCullen, 573 U.S. at 496 n.9). Similarly, here, this Court can find that the




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  Ordinance fails narrow tailoring because of its overinclusiveness without reaching

  the question of whether it is overbroad.

        The Ordinance is unconstitutionally overbroad because it authorizes the

  creation of zones at non-abortion locations where the City does not even claim

  there has been a justification for banning speech. A law is overbroad when “a

  substantial number of its applications are unconstitutional, judged in relation to the

  [law’s] plainly legitimate sweep.” See Wash. State Grange v. Wash. State

  Republican Party, 552 U.S. 442, 449 n.6 (2008) (citations omitted). The

  overbreadth doctrine prohibits laws that “sweep unnecessarily broadly and thereby

  invade the area of protected freedoms.” NAACP v. Alabama, 377 U.S. 288, 307

  (1964) (internal citations omitted). Accordingly, a law is void for overbreadth

  where it “does not aim specifically at evils within the allowable area of

  [government] control but . . . sweeps within its ambit other activities that in

  ordinary circumstances constitute an exercise” of protected rights. Thornhill v.

  Alabama, 310 U.S. 88, 97 (1940).11



  11
     In Turco, the Third Circuit states that “the Supreme Court has rejected the
  District Court’s assertion that an Ordinance must precisely target the acts it was
  passed to remedy,” Turco, 935 F.3d at 171, but that’s exactly what the Supreme
  Court said in Thornhill. See also Rode v. Dellarciprete, 845 F.2d 1195, 1200 (3d
  Cir. 1988) (legislation “is overbroad if it ‘does not aim specifically at evils within
  the allowable area of state control but, on the contrary, sweeps within its ambit
  other activities that in ordinary circumstances constitute an exercise of freedom of
  speech.’”) (quoting Thornhill, 310 U.S. at 97).

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        Trial testimony will show that the law fails not only on narrow tailoring

  grounds, but on the separate issue of overbreadth grounds as well. Shortly after the

  Ordinance was adopted, city officials began marking buffer zones at other facilities

  in the City, despite the fact there is zero evidence, when the Ordinance was

  adopted, of any disturbances at any facility in Englewood other than MMA.

        Hill’s remark that “the comprehensiveness of the statute is a virtue, not a

  vice, because it is evidence against there being a discriminatory governmental

  motive,” does not apply here. Turco, 935 F.3d at 171 (quoting Hill, 530 U.S. at

  731). The statute in Hill applied to health care facilities, while the Ordinance

  applies to both health care facilities and transitional facilities—a fact not noted by

  the Third Circuit in Turco in its overbreadth discussion. But the City provides no

  reason, let alone evidence, why buffer zones at transitional facilities, such as

  “halfway houses” for “mentally ill persons,” see N.J.S.A. 40:55D-66.2(a), are

  necessary. Taken to its logical extreme, Hill’s observation would encompass a

  municipal law imposing buffer zones on all places of businesses with front doors

  that adjoin a public sidewalk. While “comprehensive,” that would hardly be a

  legislative “virtue.”




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        Respectfully submitted on this 31st day of January 2022.


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                           CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2022, I electronically filed the foregoing

  document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all CM/ECF participants.

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